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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

TEREKA MARSHALL, *
Plaintiff, *

Case No. 1:20-cv-1565
Vv. *
WAL-MART REAL ESTATE BUSINESS *

TRUST, et al.
Defendants.

REEKEK

MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO
DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

Pursuant to Fed. R. Civ. Proc. 56, Plaintiff, Tekera Marshall
(“Marshall”), by her undersigned attorneys, hereby submits the
following Memorandum of Points and Authorities in Opposition to the
Motion for Summary Judgment filed by Defendants, Wal-Mart Real Estate
Business Trust and Walmart, Inc. (collectively referred to as “WREB”).

I. INTRODUCTION

This case arises out of an incident which took place at a Wal-Mart
retail store located in Salisbury, Maryland on June 26, 2019.
Specifically, Plaintiff was injured when she slipped on liquid which
had accumulated on the floor near the fresh produce aisle. On April 9,
2021, WREB filed a Motion for Summary Judgment contending that
undisputed evidence establishes that Defendants did not have actual or

constructive notice that the liquid was on the floor, and that Plaintiff
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was contributorily negligent. As set forth more fully below, Defendants’
arguments ignore applicable law, rely upon disputed facts and, in
certain instances, simply ignore the uncontradicted evidence developed
during the course of discovery. Therefore, Defendants are not entitled
to judgment in their favor as a matter of law, and the Motion for
Summary Judgment should be denied in its entirety.
II. UNDISPUTED FACTS

A. FACTS REGARDING THE ACCIDENT

On June 26, 2019, Marshall entered the Food Lion store located at
the property known as 409 N. Fruitland Boulevard, Salisbury, Maryland
21801 (“Premises”) with her mother, Rosa Smith (“Smith”), and her
daughter, Pariss Marshall (“Pariss”), for the purpose of going grocery
shopping. See the Deposition of Tereka Marshall, relevant excerpts of
which have been attached hereto as EXHIBIT A at 27:3-8, 28:3-5. Upon
entering the Premises, Plaintiff, Smith, and Pariss began shopping for
groceries and other household goods. Id. at 29:6-11. As Plaintiff
approached the fresh produce section, she was asked to grab some bread
by her mother, Smith. Id. at 30:2-8. As Plaintiff was returning to the
fresh produce section with the bread, she slipped on a puddle of water
causing her to fall to the ground and sustain injuries. Id. at 31:6-
22, 32:1-9.

Surveillance video shows that two employees for Defendants were

using tote boxes and shopping carts to stock the shelves in the leafy
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greens and fresh produce aisle in the moments prior to Plaintiff’s fall.
See link to view surveillance video attached hereto as EXHIBIT B!.
Furthermore, the video shows that the carts used by the employees to
carry the boxes of food was positioned directly over the area where
Plaintiff would eventually § fall. Id. The surveillance video
unequivocally supports Plaintiff’s position that she did not walk in
the exact area where the fall occurred prior to her fall. Id., EXHIBIT
A at 31:1-4. Immediately after Plaintiff's fall, the Asset Protection
Manager for Defendants, Christopher Jones (“Jones”), was notified and
took photographs of the area where the fall occurred. See Deposition of
Christopher Jones, relevant excerpts of which have been attached hereto
as EXHIBIT C at 22:2-5, 40:14-17.

At all times prior to her fall, Plaintiff was walking at a normal
pace, looking straight ahead, and did not notice the liquid located on
the floor of the aisle. EXHIBIT A at 31:12-22, 33:1-5, 33:19-21. Asa
result of her fall, Plaintiff sustained a torn meniscus in her left
knee as well as multiple disc herniations in her back which required
months of physical therapy and cortisone shots to repair. Id. at 83:21-

22, 84:1-7.

 

* Plaintiff incorporates EXHIBIT 6 to Defendants’ Motion for Summary Judgment and
will provide the same link to view the surveillance video as EXHIBIT B.
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B. FACTS REGARDING THE HAZARDOUS CONDITION

At the time of Plaintiff's fall, two WREB employees were using
tote boxes and carts to stock the shelves in the fresh produce aisle.
EXHIBIT B, EXHIBIT C at 28:13-17, 29:2-8, 36:3-15. Plaintiff, Smith,
and Pariss testified that immediately after her fall, she noticed that
her hands, legs, and pants were wet and saw a puddle of water and a
green leafy substance laying on the ground. EXHIBIT A at 31:18-22, 32:1,
33:8-13, see Deposition transcript of Rosa Smith relevant portions
attached hereto as EXHIBIT D at 20:6-19, Deposition transcript of Pariss
Marshall relevant portions attached hereto as EXHIBIT E at 13:12-18.
The surveillance video produced by Defendants, shows that two employees
were stocking the fresh produce and leafy greens in the minutes prior
to Plaintiff's fall. EXHIBIT B. Jones testified that he believed the
top boxes on the stocking carts were filled with corn but could not
identify what was in the boxes on the bottom of the carts. EXHIBIT C at
28:13-17, 29:2-8, 36:3-15. The surveillance video shows that the
stocking carts were positioned directly over the area where Plaintiff
fell, and that Plaintiff's fall occurred less than three (3) minutes
after the employees finished stocking the shelves. EXHIBIT B. At no
time from when the employees began stocking the fresh produce shelves
until Plaintiff's fall did either of the employees inspect the area
around the stocking cart. EXHIBIT B. Jones testified that all employees

are required to inspect the area around the stocking cart before leaving
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the area to confirm that no product or water had leaked onto the floor.
EXHIBIT C at 64:2-9, 72:14-19, 73:3-5. At no time did Defendants provide
any warning to Marshall of the hazardous condition, inspect the area to
confirm the boxes on the stocking cart were not leaking, or clean the
area so that it was suitable for patrons to walk on. See Defendants’
Answers to Interrogatories attached hereto as EXHIBIT F.
IIIT. LEGAL ARGUMENT

A. STANDARD OF REVIEW

Summary judgment is properly granted to the moving party when the
court determines that “no reasonable jury could find for the non-moving
party on the evidence before it.” Perini Corp. v. Perini Construction,
Inc., 915 F.2d 121, 124 (48 Cir. 1990), citing, Anderson v. Liberty
Lobby, Inc., 477 U.S. 242, 248 (1986). Any inferences from the
underlying facts must be drawn in favor of the party opposing the
motion, and when such inferences reveal a genuine dispute over a
material fact summary judgment must be denied. Tuck v. Henkel Corp.,
973 F.2d 371 (4th Cir. 1992). When the nonmoving party makes a
sufficient showing on an essential element of its case with respect to
which it has the burden of proof, the Motion for Summary Judgment must

be denied. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).
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B. THE FACTS ESTABLISH THAT WREB SHOULD HAVE KNOWN OF THE PRESENCE
OF THE LIQUID ON THE FLOOR WHICH CAUSED MARSHALL TO FALL

The Court of Appeals of Maryland has adopted the formulation
enunciated in the Restatement (Second) of Torts § 343 (1965), which
sets forth the general duty that a private landowner, such as a retail
store owner, owes to customers (invitees). Deering Woods Condo. Ass’n
v. Spoon, 377 Md. 250, 263 (2003). Section 343 reads:

A possessor of land is subject to liability for physical harm

caused to his invitees by a condition on the land if, but only

if, he:
(a) knows or by the exercise of reasonable care would
discover the condition, and should realize that it

involves an unreasonable risk of harm to such
invitees, and

(b) should expect that they will not discover or realize
the danger, or will fail to protect themselves from

it, and
(c) fails to exercise reasonable care to protect them from
the danger.
Restatement (Second) of Torts § 343 (1965). In its Motion for Summary

Judgment, WREB claims that there is no evidence to establish that it
had actual or constructive notice of the hazardous condition which
caused Marshall to fall. WREB does not dispute that the liquid which
caused Marshall to slip constituted a dangerous condition, or that its
employees were responsible for inspecting and maintain the aisleway
where the fall occurred. Therefore, Marshall’s Opposition will be

limited to the issue of whether there is evidence to establish that
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WREB knew or, by exercise of reasonable care should have known, of the
dangerous accumulation of the liquid on the floor.
“It is the law in Maryland...that the proprietor of a store owes
a duty to [an invitee] to exercise ordinary care to keep the premises
in a reasonable safe condition and will be liable for injuries sustained
in consequence of a failure to do so.” Rawls v. Hochschild, Kohn & Co.,
207 Md. 113, 117 (1955). “The customer is entitled to assume that the
proprietor will exercise reasonable care to ascertain the condition of
the premises, and if he discovers any unsafe condition he will either
take such action as will correct the condition and make it reasonably
safe or give a warning of the unsafe condition.” Id. at 117-118. The
Court of Appeals holds:
It is not necessary that there be proof that the [storeowner] had
actual knowledge of the conditions creating the peril; it is enough
if it appears that it could have discovered them by the exercise
of ordinary care, so that if it is shown that the conditions have
existed for a time sufficient to permit one, under a duty to know
of them, to discover them, had he exercised reasonable care, his
failure to discover them may in itself be evidence of negligence
sufficient to charge him with knowledge of them.
Moore v. American Stores Co., 169 Md. 541, 550-51 (1936). Whether there
has been sufficient time for a business proprietor to discover and cure
a dangerous condition is a question of fact to be resolved by the jury.

Rehn  v. Westfield Am., 153 Md.App. 586, 593, 837 A.2d 981

(2003) (citations omitted).
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1. THE AREA WHERE MARSHALL FELL WAS A KNOWN HAZARD.

WREB incorrectly argues that Maryland law requires Plaintiff to
prove that Defendants had actual or constructive knowledge of how long
the liquid which caused her to fall was on the floor. Such an argument
is not applicable to a situation, like the case at bar, where the
property owner has knowledge of a recurring hazard like water leaking
out of tote boxes containing produce. A case on point is the Court of
Appeals’ decision in Honolulu Limited v. Cain, 244 Md. 590 (1966). In
Cain, the court considered whether a shopping center could be held
liable for ice which formed on a parking lot as a result of snow piles
located near drains. Id. at 597-99. The court held that the factors
creating the dangerous condition, i.e. water from snow piles flowing
toward a drain, existed long enough to give the defendant both actual
and constructive notice of the hazard. Id. at 599. The court reasoned:

Nor do we accept the defendant’s contention that the dangerous
condition did not exist for a sufficient length of time to permit
the inference that reasonable care would have led to its discovery.
Although the ice on which Mrs. Cain slipped formed only 15 or 20
minutes before the accident, the defendant had knowledge that water
would flow from melting snow across the lot. It knew also that it
was likely on February evenings [sic] the water was apt to freeze.
In these circumstances, it is immaterial that the ice formed only
a_short time before the plaintiff fell on it. The jury could have
found that reasonable care demanded that the wet area be salted,
as_a precaution, before the ice had formed. This case clearly falls
within the exception noted in Rawls v. Hochschild, Kohn & Co., 207
Md. 113, 113 A.2d 405, 62 A.L.R.2d 124 (1955) and Lexington Market
Authority v. Zappala, 233 Md. 444, 197 A.2d 147 (1964). The jury
could have found that the factors creating the dangerous condition
existed long enough to give the defendant reasonable notice, actual
or constructive, of its existence. (emphasis supplied).
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Id. 598-99.
The following undisputed facts demonstrate that WREB had knowledge
that the hazardous condition which caused Plaintiff to fall was a known

hazard:

e WREB knew that stocking fresh produce during business hours
could create a hazardous condition on the floor of the store;
EXHIBIT C at 64:2-9, 72:14-19, 73:3-5, EXHIBIT Ga.

e The wet wall section of the produce department is considered
a “high risk” area of the store.

e WREB’s policy is to have all employees inspect the area
surrounding the stocking cart prior to exiting the area in
order to identify any potential slip hazards. EXHIBIT C at
64:2-9, 72:14-19, 73:3-5.

e On the day of the accident, WREB’s employees failed to inspect

the area surrounding their stocking cart before the left the
area; EXHIBIT B.

e The stocking cart was situated directly on top of the area
where Plaintiff fell and was moved less than three (3) minutes

prior to her fall. Id.
This evidence, when viewed in a light most favorable to Plaintiff,
establishes that WREB was aware of the recurring hazard of water and/or
other slip hazards falling off the stocking carts and onto the floor of
the produce section, and required its employees to inspect the area
surrounding the stocking cart to address this known hazard. EXHIBIT C
at 64:2-9, 72:14-19, 73:3-5, EXHIBIT G. On the date of the accident,

WREB’s employees did not follow Defendants’ own safety procedures when

they failed to inspect the area directly undeath the stocking carts
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which is a violation of WREB’s internal policy. EXHIBIT B, EXHIBIT C at
64:2-9, 72:14-19, 73:3-5. Therefore, the evidence in this case
demonstrates that Defendants had knowledge of the hazardous condition
which caused Plaintiff to fall, and their Motion for Summary Judgment
should be denied in its entirety.

2. EVIDENCE OF CONSTRUCTIVE KNOWLEDGE.

Assuming arguendo, the Plaintiff must prove that Defendants had
either constructive or actual notice of the hazardous condition prior
to her fall, the following undisputed evidence creates a jury question
as to whether WREB had constructive knowledge of the liquid located on

the floor of the produce aisle prior to Plaintiff’s fall:

e The liquid which caused Plaintiff to fall was located directly
under the stocking cart used by the two WREB employees.
EXHIBIT B

e Less than three (3) minutes before Plaintiff’s fall, two (2)
WREB employees were stocking produce in the area where the
fall occurred. Id.

e Fresh produce, like leafy greens, is trimmed and soaked in
the back of the store prior to being placed in the tote boxes
and stocked on the shelves. EXHIBIT G.

e Surveillance video shows that Defendants’ employees failed to
inspect the area surrounding the stocking carts prior to
leaving the aisle. EXHIBIT B.

e Plaintiff, Smith, and Pariss testified that Plaintiff's hand,
legs, and pants were wet after the fall. EXHIBIT A at 31:18-
22, 32:1, 33:8-13, EXHIBIT D at 20:6-19, EXHIBIT E at 13:12-
18.

e WREB was exclusively responsible for the maintenance,
inspection, and cleanup of the aisleway. EXHIBIT F.

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e Defendants do not contest that the liquid substance
constituted a hazardous condition and caused Plaintiff to
fall.

e After the fall occurred, photographs show water and a leafy
green on the floor where Plaintiff's fall occurred. See
photographs taken by Christopher Jones attached hereto as
EXHIBIT H.

These facts indicate that the liquid which caused Plaintiff to fall
originated from a tote box being used by Defendants’ employees prior to
the fall. Video evidence shows that Defendants’ employees positioned
the stocking carts directly over top of the area where Plaintiff's fall
occurred and were stocking fresh produce just minutes prior to her fall.
EXHIBIT B. The surveillance video further shows that no patrons walked
through the exact spot where Plaintiff fell in the time between when
the WREB employees moved the stocking carts and Plaintiff’s fall. Id.
Furthermore, the Asset Protection Manager for Defendants, Jones,
testified that the employees were required to inspect the area after
they were finished stocking the produce, but failed to do so. EXHIBIT
C at 64:2-9, 72:14-19, 73:3-5. Specifically, Jones stated that the
employees need to “make sure you clean up the surrounding area before
you leave” and that he would have expected the employees to inspect the
area after they were done. Id. Therefore, it is for the jury to
determine the factual issue of constructive notice. Rehn v. Westfield

Am., 153 Md.App. 586, 593 (2003) (citations omitted).

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WREB contends that there is no evidence suggesting that Defendants
had constructive notice of the liquid on the floor because Smith
testified that prior to the fall, she saw a female Standing in the leafy
produce section of the store that was shaking her hands like they were
wet. Specifically, Defendants contend that the water Plaintiff slipped
only amounted to a few drops and may have come from the woman near the
leafy produce who was shaking her hands. In doing so, Defendants
mischaracterize Smith’s testimony and fail to address the undisputed
fact that Plaintiff fell approximately ten (10) feet away from the leafy
green section of the produce department. Immediately after Plaintiff's
fall, Jones inspected the area where the fall occurred and testified
that it was ten (10) feet away from the wet wall where the leafy greens
were stored. EXHIBIT C at 58:15-17. Furthermore, when asked if she saw
water on the female patron’s hands, Smith responded “No”. EXHIBIT D.
Jones’ and Smith’s testimony directly contradict Defendants’ assertion
that the water that caused Plaintiff to slip came from a customer
shaking her hands in an area of the store that was at least ten (10)
feet from where Plaintiff fell. Id., EXHIBIT C at 58:15-17. Furthermore,
Defendants’ contention that a small amount of liquid was on the floor
when Plaintiff fell is demonstrably false. Plaintiff, Smith, and Pariss
testified that Plaintiff’s hand, leg, and pants were all wet after she
fell. EXHIBIT A at 31:18-22, 32:1, 33:8-13, EXHIBIT D at 20:6-19,

EXHIBIT E at 13:12-18. Moreover, Jones testified that he took the

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photographs of the area where Plaintiff fell after her fall and had no
knowledge of the amount of water present on the floor prior to the fall.
EXHIBIT C at 71:8-16.

Defendant further contends that in order to prove constructive
notice, Plaintiff must establish that the hazardous condition was
present for more than a few hours. In doing so, Defendant fails to cite
a single reported Maryland or local Federal case to support its
contention. It is well established that whether WREB had sufficient
time to discover that the water was on the floor of the Premises is a
question of fact to be determined by the jury. Rehn v. Westfield
America, 153 Md.App. 586, 593 (2003); Rawls v. Hochschild, Kohn & Co.,
207 Md. at 118. Defendants further rely on Maans v. Giant of Maryland,
LLC, 161 Md.App. 620 (2005) and Lusby v. Baltimore Transit Co., 195 Md.
118 (1950) to support their contention that they did not have
constructive notice of the hazardous condition. These cases are readily
distinguishable from the case at bar. Specifically, in Maans, the
Plaintiff slipped on liquid located near the cashier’s station in the
front of the store. Maans at 624-25. In granting the Motion for Summary
Judgment, the Court of Special Appeals of Maryland held “appellant
failed to produce any evidence that had giant made reasonable
inspections prior to the accident it would have discovered the water on
the floor in time to prevent the accident. This is fatal to her argument

that Giant is liable.” Id. at 632. In Lusby, the Court of Appeals upheld

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the granting of a Motion for Summary Judgment because there was no
evidence produced to indicate it was part of the bus driver’s duty to
inspect the aisle of the bus for slip hazards. Lusby at 123. In the
case at bar, Defendants’ employee, Jones, testified that the two
employees stocking the produce were required to inspect the area
surrounding the stocking carts. EXHIBIT C at 64:2-9, 72:14-19, 73:3-5.
Furthermore, video evidence shows that the puddle of water that caused
Plaintiff to fall was located directly under the stocking carts used by
the employees less than three (3) minutes prior to Plaintiff's fall.
EXHIBIT B. Therefore, Defendants had a duty to inspect the area where
the hazardous condition occurred and could have identified the puddle
of water and leafy green through a reasonable inspection. EXHIBIT C at
64:2-9, 72:14-19, 73:3-5.

All of these facts, when applied to the applicable law, create a
jury question as to whether WREB knew or should have known of the
existence of the liquid that caused Plaintiff's fall prior to the fall.
Therefore, WREB is not entitled to judgment as a matter of law,
Defendants’ Motion for Summary Judgment should be denied.

3. EVIDENCE OF ACTUAL NOTICE

Not only does the evidence establish that WREB had at least
constructive knowledge of the hazardous condition and that it failed to
warn Plaintiff, the following evidence shows that WREB had actual

knowledge of the hazard:

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e WREB’s employees were required to inspect the aisle for
hazardous conditions. Id.

¢ Video evidence shows that two WREB employees were stocking
shelves in the area where the Plaintiff fell just prior to
her fall. EXHIBIT B.

e The WREB employees were stocking produce which is soaked and
washed in the back prior to being brought onto the floor.
EXHIBIT G.

¢ Video evidence shows that no patrons walked directly over the
area where Plaintiff fell in the three (3) minutes after the
employees left and the fall. EXHIBIT B.

e Defendants do not dispute that the liquid created a hazardous
condition.

¢ The amount of liquid on the floor was large enough to cover
Plaintiff’s hand, leg, and clothing and was located less than
a foot away from two WREB employees. EXHIBIT A at 31:18-22,
32:1, 33:8-13, EXHIBIT D at 20:6-19, EXHIBIT E at 13:12-18.
These facts would support a jury determination that WREB’s employees
created and had actual knowledge of the liquid located on the floor
prior to Plaintiff’s fall and failed to take any steps to clean the
hazard, warn Plaintiff, or direct pedestrian traffic away from the area
of the floor where the hazard was located. Therefore, the evidence in
this case demonstrates that Defendants had both actual and constructive
knowledge of the hazardous condition which caused Plaintiff to fall. As
such, Defendants’ Motion for Summary Judgment should be denied in its
entirety.
C. PLAINTIFF WAS NOT CONTRIBUTORILY NEGLIGENT

“Contributory negligence connotes a failure to observe ordinary

care for one's own safety. ‘It is the doing of something that a person

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of ordinary prudence would not do, or the failure to do something that
a person of ordinary prudence would do, under the circumstances.’" Smith
v. Warbasse, (1987) (quoting Menish v. Polinger Co., 277 Md. 553, 559,
(1976)). See also CIGNA Property and Cas. Cos. v. Zeitler, 126 Md.App.
444, 488, (1999). Contributory negligence “‘occurs whenever the injured
person acts or fails to act in a manner consistent with the knowledge
or appreciation, actual or implied, of the danger or injury that his or
her conduct involves.’” Campbell v. Montgomery County Bd. of Educ., 73
Md.App. 54, 64, (1987) (quoting Gilbert, Maryland Tort Law Handbook, §
11.4.1), cert. denied, 311 Md. 719, (1988). As the Court of Special
Appeals explained in McSlarrow v. Walker, 56 Md.App. 151, 161, (1983):

Contributory negligence as a matter of law requires a finding

that the negligent act of the plaintiff ... relied upon must

be prominent, decisive and one about which ordinary minds

would not differ in declaring it to be negligence. Yockel v.

Gerstadt, 154 Md. 188, 140 A. 40 (1927). The standard of care

to be used in measuring contributory negligence is the conduct

of an ordinarily prudent person under similar circumstances;

and even if the act done turns out to be an error of judgment,

this alone does not make the act negligent if an ordinarily

prudent person may have made the same error. Sanders v.

Williams, 209 Md. 149, 120 A.2d 397 (1955).

Plaintiff cannot be deemed to be contributorily negligent based

upon the following evidence:

e Plaintiff fell while walking in the aisle of the store,
i.e., an area designated for foot traffic. EXHIBIT B.

e Plaintiff was walking normally and looking straight
ahead at the time of her fall. EXHIBIT A at 33:19-21.

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e Prior to her fall Plaintiff did not see the liquid
located on the floor of the aisle. Id. at 31:12-22,
33:1-5.

e No warning signs were visibly posted regarding the

hazardous accumulation of the liquid on the floor.
EXHIBIT F.

e No verbal warnings were given to Plaintiff regarding the
hazardous accumulation of the liquid on the floor. Id.

e The aisle where Plaintiff fell contained numerous
display shelves containing merchandise intended to be
sold to patrons of WREB. EXHIBIT B.
The aforementioned evidence demonstrates that Plaintiff exercised
reasonable caution as she walked through the Wal-Mart retail store and
that her actions did not cause her to fall. Moreover, Defendant’s
argument for contributory negligence was addressed by the Court of
Special Appeals of Maryland in Diffendal v. Kash and Karry Service
Corp., 74 Md.App. 170 (1988). Specifically, the Court of Special Appeals
held that:
“Additionally, there is evidence that the display and the placing
of the impulse items were intended to attract and keep the
customer's attention at eye level. When a merchant entices a
customer's eyes away from a hazardous condition, we do not think
he should be heard to complain when his efforts succeed. Likewise,
when the designs of the merchant have the desired effect upon a
customer, we cannot conclude as a matter of law that the customer
was contributorily negligent in not looking down at the floor.”
Id. at 175-176. Like in Diffendal, Defendants placed merchandise on the

shelves located in the produce aisle where the hazardous condition which

caused Plaintiff to fall was located. EXHIBIT B. The aforementioned

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evidence and case law demonstrates that Plaintiff exercised reasonable
caution as she walked through the Wal-Mart retail store and that she
did not engage in any unreasonable conduct which would have caused her
to fall. EXHIBIT A at 33:19-21. As such, Plaintiff cannot be found
contributorily negligent as a matter of law and Defendants’ Motion for
Summary Judgment should be denied in its entirety.
Iv. CONCLUSION

Based upon the evidence and the applicable legal authorities
identified in this Opposition Memorandum of Law, Plaintiff, Tereka
Marshall, respectfully requests that the Court deny the Motion for
Summary Judgment filed by Defendants in its entirety.

Respectfully submitted,

 

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CERTIFICATE OF SERVICE

 

I HEREBY CERTIFY that on this 6% day of May, 2021, a copy of the
foregoing was served via electronic mail to:

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Zl

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